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UNITED SST ENDIS RIG HGOURT
EASTERN DISTRIGSEGF WISCONSIN

 

 

Plaintiff,

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Vv. Case No. 12-CR-  ~ oo
[18 USC §§ 2, 666, and 1343]
GREGORY L. GONER,

Defendant.

 

INDICTMENT

 

The Grand Jury Charges:

Allegations Common to Counts One through Four:

I, The defendant was the pastor of Spirit Governed Baptist Church
(hereinafter SGBC) in Milwaukee, Wisconsin and has been throughout the time period
covered by the indictment.

2. The defendant was the president and chief administrator of Excel Academy
(hereinafter Excel), a private choice school for students from kindergarten through high
school which operated at various locations in Milwaukee from the autumn of 2004
through spring of 2010.

3. Excel was supported by government funds, including more than $100,000
per year in federal funds from the United States Departments of Education and

Agriculture.

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4. While it was in operation, Excel was often short of funds and sometimes
was unable to pay its employees and contribute to their health insurance in a timely
manner.

5. Despite that, the defendant caused funds belonging to Excel to be converted
and misapplied for various purposes unrelated to the educational purposes of the school |
including, but not limited to, the following:

a. KB was a young woman the defendant met in Illinois and invited to
come to Milwaukee where he would provide her a job at Excel although she had
no training or experience in school work. Although KB was seldom at the school
and did almost no work for the school, nearly $20,000 of Excel’s money was paid
to her during the 2005 - 2006 school year.

b. | KA wasa friend of the defendant and a deacon at SGBC. Although
KA had another full-time job and did very little work for the school, approximately
$28,700 of Excel’s money was paid to KA from 2004 to 2008.

c, In May of 2005, the defendant caused Excel to have the following
transaction with his mother, VP. In two checks dated May 11 and 16, VP loaned
$15,000 to Excel. On May 31, Excel paid back the $15,000 plus $5,000 interest,
an interest payment of 33% for a loan outstanding for less than one month, an
effective annual rate of more than 600%.

d. ~* During the period of 2004 through 2006, the defendant caused Excel

to loan school funds to a number of Excel employees so they could buy

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automobiles from him.

e, Despite Excel’s financial difficulties and even though the defendant
did not spend much time and effort on school business, he derived a salary of more
than $90,000 per year from Excel during its years of operation.

f. From March of 2005 through June of 2008, the defendant caused
approximately $564,265 to be paid to SGBC from Excel in alleged loan
repayments. There is no documentation for many of the alleged loans. Several of
the loans involve the payment by Excel. of unreasonable rates of interest such as
20% after 41 days, over 12% after 28 days, and over 12% after 12 days.

g. From December of 2004 into July of 2008, the defendant caused an
additional approximately $270,401 to be paid from Excel to SGBC. None of that
was listed as loan repayments. Many of these payments were to rent space at
SGBC for Excel functions, including space for Excel employees to work at SGBC
though there was available space for those employees to work in Excel’s school
facilities.

h. The defendant employed many members of SGBC at Excel and
directed them to tithe, that is contribute 10% of their Excel salary to SGBC. The
defendant also authorized loans of Excel funds to several Excel employees so
those funds could be contributed to SGBC.

i. In March of 2007, the defendant used $37,000 of Excel’s money as

part of the payment required at closing for the purchase of apartment buildings in

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Milwaukee that were being purchased by the defendant and his wife.
6. As money from Excel was being transferred to SGBC, the defendant was
using SGBC money for his own purposes including:

a. Leasing 2004 Cadillacs from 2004 through 2008 for the defendant,
his wife, and his mother;

b. Using approximately $40,000 of SGBC money to make necessary
payments at closing in March of 2007 for the purchase of apartment buildings in
Milwaukee by the defendant and his wife; and

C, Using approximately $70,000 of SGBC money to make mortgage

payments on those apartment buildings in 2007 through 2008.

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COUNT ONE

The Grand Jury Further Charges:

At all times material to this count:

] : Excel Academy was a private choice school operating in Milwaukee,
‘Wisconsin which received more than $100,000 per year in federal funds under grants,
contracts, and other assistance from September, 2004 through April, 2010.

2, Defendant Gregory L. Goner was an agent of Excel Academy as its
president and administrator.
3. On or about March 12 through 16, 2007, at Milwaukee in the state and
Eastern District of Wisconsin,
GREGORY L. GONER
‘embezzled, stole, knowingly converted, and intentionally misapplied approximately

$37,000 in funds that were under the care, custody, and control of Excel Academy. The

defendant did so by taking the following steps. He obtained three checks payable to

SGBC from Excel Academy totaling $37,000, which he deposited into an SGBC account

at Legacy Bank. He then took $43,000 out of that SGBC account and deposited it into his

personal account at Legacy Bank. That allowed him to write a check on that personal

account for $106,624.04 that he had to pay at the March 16, 2007 closing on the purchase

of apartment buildings at 7724-7734 West Hampton Avenue in Milwaukee, which he was

buying with his wife.

All in violation of Title 18, United States Code, Sections 666(a)(1)(A) and 2.

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COUNT TWO

The Grand Jury Further Charges:

At all times material to this count:

I. Excel Academy was a private choice school operating in Milwaukee,
Wisconsin which received more than $100,000 per year in federal funds under grants,
contracts, and other assistance from September, 2004 through April, 2010.

2. Defendant Gregory L. Goner was an agent of Excel Academy as its
president and administrator. . .

3. During the 2007-2008 school year, at Milwaukee in the state and Eastern
District of Wisconsin,

GREGORY L. GONER
embezzled, stole, knowingly converted, and intentionally misapplied approximately
$7,600 in funds that were under the care, custody, and control of Excel Academy. The
defendant did so by causing that amount to be paid by Excel Academy to KA, a friend of
the defendant and a deacon at SGBC, although KA was doing little or no work for the
school during the 2007-2008 school year.

All in violation of Title 18, United States Code, Sections 666(a)(1)(A) and 2.

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COUNT THREE

The Grand Jury Further Charges:

At all times material to this count:

1. Excel Academy was a private choice school operating in Milwaukee, |
Wisconsin which received more than $100,000 per year in federal funds under grants,
contracts, and other assistance from September, 2004 through April, 2010.

2. Defendant Gregory L. Goner was an agent of Excel Academy as its
president and administrator.

3, On or about October 9, 2007, at Milwaukee in the state and Eastern District
of Wisconsin, ;
GREGORY L. GONER

embezzled, stole, knowingly converted, and intentionally misapplied approximately
$15,000 in funds that were under the care, custody, and control of Excel Academy. The
defendant did so by causing Excel Academy to issue a check for $15,000 to SGBC to
lease space at the church during September, October, and November for Excel Academy
employees to use even though there was no need to lease space at the church because
there was adequate space at the school for the employees to perform their duties.

All in violation of Title 18, United States Code, Sections 666(a)(1)(A) and 2.

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COUNT FOUR

The Grand Jury Further Charges:

At all times material to this count:

1. Excel Academy was a private choice school operating in Milwaukee,
Wisconsin which received more than $100,000 per year in federal funds under grants,
contracts, and other assistance from September, 2004 through April, 2010.

2, Defendant Gregory L. Goner was an agent of Excel Academy as its
president and administrator.

3. On or about December 4, 2007, at Milwaukee in the state and Eastern
District of Wisconsin,

GREGORY L. GONER
embezzled, stole, knowingly converted, and intentionally misapplied approximately
$15,000 in funds that were under the care, custody, and control of Excel Academy. The
defendant did so by causing Excel Academy to issue a check for $15,000 to SGBC to
lease space at the church during December, January, and February for Excel Academy
employees to use even though there was no need to lease space at the church because
there was adequate space at the school for the employees to perform their duties.

All in violation of Title 18, United States Code, Sections 666(a)(1)(A) and 2.

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COUNT FIVE

The Grand Jury Further Charges:

From on or about January 8, 2007 through March of 2007, in the state and Eastern
District of Wisconsin,

‘GREGORY L. GONER
knowingly devised and intended to devise a scheme to defraud and to obtain money by
means of material false and fraudulent pretenses and representations, The scheme is
described in the following paragraphs.

A. In January of 2007, the defendant and his wife made an offer to purchase
two four-unit apartment buildings next to each other at 7724 and 7734 West Hampton
Avenue in Milwaukee.

B, On or about January 8, 2007, the defendant and his wife paid $5,000 in
earnest money on this transaction.

-C, _. The purchase price for these buildings was $420,000. To make this
purchase, the defendant and his wife applied for a loan of $315,000 which was to come
from Interbay Funding, LLC.

D. To qualify for the loan, the defendant submitted to the lender a residential
rental contract signed on March 14, 2007 by defendant, his wife, and the owner and
operator of MATCH, an organization that provides housing for mentally disabled
individuals. That contract stated that MATCH would rent all eight units in these two

buildings from the defendant and his wife for 12 months beginning on April 1, 2007,

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paying a total rent of $10,000 per month.

E, This residential rental contract was material to the ability of the defendant
and his wife to obtain the loan to purchase the buildings since it tended to establish
income and cash flow for defendant and his wife, facilitating their ability to make
payments on the mortgage resulting from the loan.

F, As the defendant knew, the residential rental contract was false. The owner
and operator of MATCH had not agreed to rent all of the units in these buildings and had
not agreed to pay defendant and his wife $10,000 per month.

G. The loan to the defendant and his wife was approved and their purchase of
these buildings closed on March 16, 2007.

H. On or about March 20, 2007,

GREGORY L. GONER,
for the purpose of executing the scheme alleged in this count, caused to be transmitted in
interstate commerce by means of a wire communication, certain signs, signals, or sounds
which accomplished a wire transfer of loan proceeds totaling $313,584.43 from an
account of Bayview Lending at JP Morgan Bank in Tampa, Florida to an account of the
settlement agent for this real estate transaction at Guaranty Bank in Brown Deer,
Wisconsin,

All in violation of Title 18, United States Code, Sections 1343 and 2.

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A TRUE BILL:

  
   

FOREPERSON

hh ft  — Dated: “2.

/O2AMES L. SANTEDLE
United States Attorney

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